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                                                            '19CV1636 BEN AGS




                       EXHIBIT A
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                                                                                                                                                        SUM-100
                                            SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE L4 CORTE)
                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:                                                                                               ELECTROHICALLY FILED
                                                                                                                    Superior Court of California,
 (AVISO AL DEMANDADO):                                                                                                 County of San Diego
  SOUTHWEST KEY PROGRAMS, INC., a Texas corporation;                                                                 07/1212019 at 01:51:17             PM
  TALENTWISE, INC., a Delaware corporation, and DOES1-50,Inclusive                                                Cleric of the Superior Court
                                                                                                            By Jacqueline J. lnIalters,Deputy Clerk
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 MARIA HERNANDEZ, as an individual; AZAEL SANCHEZ, as an
 individual; see attached for further plaintiffs
  NOTICE' You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you, Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.goviselthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form, If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attomey right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (wwwlawhelpcalifomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association, NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 1AVIS01 Lo han demandado. Si no responde dentro de 30 dies, la code puede decidir en su contra sin escuchar su version. Lea /a informaciOn a
 continuacion.
     Tiene 30 DIAS DE CALENDARIO despues de que le enfreguen este citaciOn y papoles legates para presenter una respuesta por escrito en este
 code y hacer que se enfregue una copia al demandante. Una carte o una Hamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted puede usar para su respuesta.
 Puede encontrar estos formularios de la code y mss informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de /eyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretarlo de la code
 que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
 podra guitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un setvicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro, Puede enconirar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
 colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaciOn de $10,000 6 mss de valor recibida mediante un acuerdo o una concesi6n de arbitrate en un caso de derecho civil. Tiene que
 pagar el gravamen de Ia code antes de quo la code pueda desechar el caso.
The name and address of the court is:                                                                      CASE NLIME1Efii
                               Superior Court for the State of California
(El nombre y direccion de la come es):                                                                     Wa'neM cr""Qir    37-2010-00036821- C U- 0 E-CTL
for the county of San Diego - Hall of Justice Courthouse
330 West Broadway, San Diego, CA 92101
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el namero de telOfono del abogado del demandante, o del demandante que no tiene abogado, es):
CROSNER LEGAL, PC 433 N. Camden Dr., Ste. 400 Beverly Hills, CA 90210 Tel: (310) 496-5818

DATE:          07118t2019                                                                     0-11-04,6...                                              , Deputy
                                                                     Clerk, by
(Fecha)                                                              (Secreterio)                   J, Waltors                                           (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010),)
(Para prueba de entrega de esta citaliOn use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.      as an individual defendant.
                                 2,       as the person sued under the fictitious name of (specify):


                                                                                                                                                    1
                                     3, I       on behalf of (specify):
                                                                                                       t        (
                                          under:          CCP 416.10 (corporation)                                                   -
                                                                                                                     CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                           CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.         by personal delivery on (date):
                                                                                                                                                           Page 1 of 1
Form Adopted for Mandalory Use
  Judicial Council of California
                                                                       SUMMONS                                                  Code of Civil Procniiiiro §§ 412 20,
                                                                                                                                                  wwiy,courfinfo ca gov
 SUM-100 [Rev. July 1, 20091
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                                                                                                                             SUM-200(A)
     SHORT TITLE:                                                                               CASE NUMBER:

      MARIA HERNANDEZ v. SOUTHWEST KEY PROGRAMS, INC.

                                                           INSTRUCTIONS FOR USE
    ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    ♦ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

      ri       Plaintiff            Defendant    n   Cross-Complainant     F- 7 Cross-Defendant

    ROBERTO NAVA, as an individual, and on behalf of all others similarly situated,




                                                                                                                  Page          of
                                                                                                                                     Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                     Attachment to Summons
Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.14 Page 4 of 22




    1   ZACHARY CROSNER (SBN 272295)
                                                                    ELECTRONICALLY FILED
        MICHAEL CROSNER (SBN 41294)                                  Superior Court ofCalifornia,
    2   CROSNER LEGAL, P.C.                                             County of San Diego
        433 N. Camden Dr., Suite 400                                 07/12/2019 at 1:11:61:17 PM
    3   Beverly Hills, CA 90210
        Tel. (310) 496-5818                                          Clerk of the Superior Court
                                                                By Jacqueline J. Walters,Deputy Clerk
    4   Fac. (310) 510-6429

    5   BRENT MARLIS (SBN 284654)
        LAW OFFICE OF BRENT MARLIS
    6   10940 Wilshire Blvd., Ste 1600
        Los Angeles, CA 90024-3910
    7   Tel. (310) 431-9355
        Fac. (310) 473-1175
    8
        Attorneys for Plaintiffs MARIA HERNANDEZ,
    9   AZAEL SANCHEZ and ROBERTO NAVA

   10
                                    SUPERIOR COURT OF CALIFORNIA
   11
                                IN AND FOR THE COUNTY OF SAN DIEGO
   12

   13   MARIA HERNANDEZ, as an individual;            CASE NO. 37-2019-130036821-CU-0ECTL
        AZAEL SANCHEZ, as an individual;
   14   ROBERTO NAVA, as an individual, and           CLASS ACTION
        on behalf of all others similarly situated,
   15                                                 COMPLAINT FOR:

   16          Plaintiff,                                1. Violation of the Federal Fair Credit
                                                            Reporting Act ("FCRA") [15 U.S.C. §§
   17                                                       1681, et seq.]
        vs.
   18
                                                         2. Violation of the California Investigative
   19                                                       Consumer Reporting Agencies Act
        SOUTHWEST KEY PROGRAMS, INC., a                     ("ICRAA") [Cal. Civil Code § 1786, et
  20    Texas corporation; TALENTWISE, INC., a              seq.]
        Delaware corporation, and DOES 1-50,
  21    Inclusive,

  22
               Defendants.
  23

  24

  25

   26

   27

   28


                                           CLASS ACTION COMPLAINT
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    1           Plaintiffs, MARIA HERNANDEZ, on behalf of herself and all others similarly situated;

    2   AZAEL SANCHEZ, on behalf of himself and all others similarly situated; and ROBERTO

    3   NAVA, on behalf of himself and all others similarly situated (hereinafter collectively "Plaintiff')
    4   complains of Defendants SOUTHWEST KEY PROGRAMS, INC.; TALENTWISE, INC.; and

    5   DOES 1-50 ("Defendant") as follows:

    6                                            INTRODUCTION
    7           1.      This class action arises from Defendant's acquisition and use of consumer and/or
    8   investigative consumer reports (referred to as "background reports") to conduct background

    9   checks on Plaintiff and current and former employees.

   10           2.     Defendant routinely obtains and uses information from background reports in
   11   connection with its hiring processes without complying with state and federal mandates for doing

   12   SO.


   13          3.      Plaintiff, individually and on behalf of all other members of the public similarly

   14   situated, seeks compensatory and punitive damages due to Defendant's systematic and willful

   15   violation of, inter alia, the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. §§ 1681, et seq. and

   16   the Investigative Consumer reporting Agencies Act ("ICRAA"), Cal. Civ. Code §§ 1786, et seq.

   17          4.      Defendant has violated the requirements under these statutes by failing to provide
   18   proper release and disclosure authorization to Plaintiff.

   19          5.      The procurement of background reports for employment purposes is subject to

   20   strict disclosure requirements under federal law pursuant to the FCRA and under California

   21   pursuant to the ICRAA. Among other things, an employer may not procure a background report

   22   concerning a job applicant unless 1) a "clear and conspicuous" disclosure is made in a stand-alone

   23   document that "consists solely of the disclosure" informing the applicant that a report may be

   24   obtained for employment purposes and clearly setting forth the nature and scope of the consumer

   25   report; 2) a summary of the applicant's rights with regard to the consumer report is provided to

   26   the applicant; and 3) provides the applicant with accurate and legally compliant information and

   27   disclosures with regard to its investigative consumer report.

   28          6.      Defendant failed to follow these strict disclosure and procedural requirements and,
                                                        2
                                            CLASS ACTION COMPLAINT
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    1   as a result, Defendant's wrongful acts and omissions injured Plaintiff and putative class members
    2   by having their privacy and statutory rights invaded in violation the FCRA and ICRAA.

    3                                                PARTIES

    4           7.      Plaintiff MARIA HERNANDEZ is, and at all relevant times was, an individual

    5   and natural person domiciled in the State of California and a citizen of the State of California who

    6   worked for Defendant.

    7           8.      Plaintiff AZAEL SANCHEZ is, and at all relevant times was, an individual and

    8   natural person domiciled in the State of California and a citizen of the State of California who

    9   worked for Defendant.

   10           9.     Plaintiff ROBERTO NAVA is, and at all relevant times was, an individual and

   11   natural person domiciled in the State of California and a citizen of the State of California who

   12   worked for Defendant.

   13           10.    Defendant SOUTHWEST KEY PROGRAMS, INC. is a Texas Corporation

   14   authorized to do business in California and maintains its California principal place of business in

  15    Contra Costa County, California.

  16           11.     Defendant TALENTWISE, INC. is a Delaware Corporation which, at all relevant

  17    times, was authorized to do business in California.

  18           12.     Plaintiff is unaware of the true names of Defendants DOES 1 through 50. Plaintiff

  19    sues said defendants by said fictitious names and will amend this complaint when the true names

  20    and capacities are ascertained or when such facts pertaining to liability are ascertained, or as

  21    permitted by law or by the Court. Plaintiff is informed and believes that each of the fictitiously

  22    named Defendants is in some manner responsible for the events and allegations set forth in this

  23    complaint.

  24           13.     Plaintiff is informed, believes, and thereon alleges that at all relevant times, each

  25    defendant was an employer, was the principal, agent, partner, joint venturer, officer, director,

  26    controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest and/or

  27    predecessor in interest of some or all of the other Defendants, and was engaged with some or all

  28    of the other defendants in a joint enterprise for profit, and bore such other relationships to some or
                                                           3
                                            CLASS ACTION COMPLAINT
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    1   all of the other defendants so as to be liable for their conduct with respect to the matters alleged in
    2   this complaint. Plaintiff is further informed and believes and thereon alleges that each defendant

    3   acted pursuant to and within the scope of the relationships alleged above, and that at all relevant

    4   times, each defendant knew or should have known about, authorized, ratified, adopted, approved,

    5   controlled, aided and abetted the conduct of all other defendants. As used in this complaint,

    6   "Defendant" means "Defendants and each of them," and refers to the Defendants named in the
    7   particular cause of action in which the word appears and includes SOUTHWEST KEY

    8   PROGRAMS, INC.; TALENTWISE, INC. and DOES 1 to 50, inclusive.
    9           14.     At all times mentioned herein, each Defendant was the co-conspirator, agent,

   10   servant, employee, and/or joint venture of each of the other defendants and was acting within the

   11   course and scope of said conspiracy, agency, employment, and/or joint venture and with the

   12   permission and consent of each of the other Defendants.

   13           15.     Plaintiff makes the allegations in this complaint without any admission that, as to

   14   any particular allegation, Plaintiff bears the burden of pleading, proving, or persuading and

   15   Plaintiff reserves all of Plaintiff's rights to plead in the alternative.

   16                                      JURISDICTION AND VENUE

  17            16.     This Court has jurisdiction over Plaintiff's and the Class Members' claims for

   18   FCRA and ICRAA violations for the following reasons upon information and belief:

   19   SOUTHWEST KEY PROGRAMS, INC. and TALENTWISE, INC., at all relevant times duly

  20    licensed to conduct business in the State of California; and DOES 1-50, inclusive, (collectively

  21    "Defendant") operate throughout California; Defendant employed Plaintiff in San Diego County

  22    in the State of California; the principal violations of California law occurred in San Diego

  23    County; the conduct of Defendant forms a significant basis for Plaintiff's and the Class Members'

  24    claims; and Plaintiff and the Class Members seek significant relief from Defendant.

  25                                        FACTUAL BACKGROUND

  26            17.     Plaintiff applied online in an electronic application for a job with Defendant in or

  27    around the latter part of 2017 and/ or the early part of 2018.

  28            18.     In evaluating Plaintiff for employment, Defendant procured or caused to be
                                                       4
                                              CLASS ACTION COMPLAINT
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    1   prepared a background report (i.e., a consumer report and/or investigative consumer report, as
    2   defined by 15 U.S.C. § 1681a(d)(1)(B) and 15 U.S.C. § 1681a(e), a consumer credit report, as

    3   defined by Cal. Civ. Code § 1785.3(c), and an investigative consumer report, as defined by Cal.

    4   Civ. Code § 1786.2(c).

    5           19.     In connection with Plaintiff's employment application, Plaintiff completed

    6   Defendant's standard online application materials, which, on information and belief are used

    7   regularly by Defendant for all job applicants during the relevant time period in connection with its

    8   employment policies, procedures, and/or practices.

    9           20.     As part of Plaintiff's application, Defendant purported to inform Plaintiff and other

   10   class members that a background check would be obtained and included in the application

   11   materials a copy of documents purporting to give Defendant authorization to perform a

   12   background check.

   13           21.    This purported disclosure and authorization is in the form of multiple documents

   14   and contains extraneous information which is irrelevant to Defendant's disclosure of its intent to

   15   obtain a background report and also describes information that does not constitute a consumer

   16   report or investigative consumer report and therefore misleads the consumer about the type of

   17   information he or she is authorizing will be disclosed, Moreover, Defendant did not provide a

   18   stand-alone authorization as required by applicable law and failed to adhere to the strict consumer

   19   report disclosure and procedural requirements pursuant to the FCRA and ICRAA.

   20                                        CLASS ALLEGATIONS

   21          22.     Plaintiff brings this lawsuit on behalf of themselves and as a class action under

   22   Code of Civil Procedure § 382 on behalf of a class of similarly situated persons as follows:

   23          23.     Class Definitions: The classes are defined as follows:

   24                  A.      FCRA Class:         All of Defendant's current, former and prospective

   25   applicants for employment in the United States who applied for a job with Defendant at any time

   26   during the period beginning five years prior to the filing of this action and ending on the date that

   27   final judgment is entered into in this action.

   28                  B.      ICRAA Class:        All of Defendants' current, former, and prospective
                                                         5
                                             CLASS ACTION COMPLAINT
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    1   applicants for employment in California, at any time during the period beginning five years prior

    2   to the filing of this action and ending on the date that final judgment is entered into in this action.

    3           24.       Numerosity: The class members are so numerous that the individual joinder of

    4   each individual class member is impractical.

    5           25.       Commonality and Predominance: Common questions of law and fact exist as to

    6   all class members and predominate over any questions which affect only individual class

    7   members. These include, but are not limited to:

    8                     A.     Whether Defendant willfully included extraneous information, including
    9                            state law disclosures, release of liability disclosures, and seek additional

   10                            extraneous disclosures regarding drug testing and immigration status in its

   11                            Release and Disclosure Authorization;

   12                     B.     Whether Defendant willfully failed to provide a summary of rights with

   13                            regard to its investigative consumer report pursuant to its obligations under

   14                            the FCRA;

   15                     C.     Whether Defendant willfully failed to clearly and accurately disclose the

   16                            full purpose of the investigative consumer report pursuant to federal and

   17                            state requirements;

   18                     D.     Whether Defendant willfully failed to include accurate and legally required

   19                            information and disclosures with regard to its investigative consumer

  20                             report;
  21                      E.     Whether Defendant willfully failed to comply with the FCRA and/or the

  22                             ICRAA.

  23           26.        Typicality:   Plaintiff's claims are typical of the other class members' claims.

  24    Plaintiff is informed and believes and thereon alleges that Defendant has a policy, practice or a

  25    lack of a policy which resulted in Defendant failing to comply with the FCRA, and ICRAA as

  26    alleged herein.

  27           27.        Adequacy of Class Representative: Plaintiff is an adequate class representative

  28    in that Plaintiff has no interests that are adverse to, or otherwise in conflict with, the interests of
                                                           6
                                             CLASS ACTION COMPLAINT
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     1    absent class members. Plaintiff is dedicated to vigorously prosecuting this action on behalf of
     2   class members. Plaintiff will fairly and adequately represent and protect the interests of class

     3   members,

     4           28.     Adequacy of Class Counsel: Plaintiff's counsel are adequate class counsel in that
     5   they have no known conflicts of interest with Plaintiff or absent class members, are experienced

    6    in class action litigation and are dedicated to vigorously prosecuting this action on behalf of

    7    Plaintiff and absent class members.
    8            29.     Superiority: A class action is vastly superior• to other available means for fair and

    9    efficient adjudication of class members' claims and would be beneficial to the parties and the
   10    Court. Class action treatment will allow a number of similarly situated persons to simultaneously

   11    and efficiently prosecute their common claims in a single forum without the unnecessary

   12    duplication of effort of effort and expense that numerous individual actions would entail. In

   13    addition, the monetary amounts due to many individual class members are likely to be relatively

   14    small and would thus make it difficult, if not impossible, for individual class members to both
   15    seek and obtain relief.    Moreover, a class action will serve an important public interest by
   16    permitting class members to effectively pursue the recovery of monies owed to them. Further, a

   17    class action will prevent the potential for inconsistent or contradictory judgments inherent in

   18    individual litigation.

   19                                      FIRST CAUSE OF ACTION
   20            FAILURE TO MAKE PROPER DISCLOSURE IN VIOLATION OF FCRA

   21                         (15 U.S.C. §§ 1681b(b)(2)(A), 1681d(a)(1) and 1681g(c))

   22                       (By Plaintiff and the FCRA Class Against all Defendants)
   23           30.     Plaintiff hereby incorporates reference to all the allegations contained in this
   24    Complaint as if fully alleged herein.

   25           31.     Defendant is a "person" as defined by Section 1681a(b) of the FCRA.

   26           32.     Plaintiff and class members are "consumers" within the meaning of Section
   27    1681a(c) of the FCRA, because they are "individuals."

   28           33.     Section 168 la(d)(1)(B) of the FCRA defines "consumer report" as
                                                         7
                                             CLASS ACTION COMPLAINT
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     1                  Any oral, or other communication of any information by a consumer reporting
                        agency bearing on a consumer's credit worthiness, credit standing, credit capacity,
     2                  character, general reputation, personal characteristics, or mode of living which is
                        used or expected to be used or collected in whole or in part for the purpose of
     3                  serving as a factor in establishing the consumer's eligibility for — employment
                        purposes.
     4

     5   Thus, a credit and background report qualify as a consumer report.

     6            34.   Section 1681a(e) of the FCRA defines "investigative consumer report" as:
                        a consumer report or portion thereof in which information on a consumer's
     7                  character, general reputation, personal characteristics, or mode of living is
                        obtained through personal interviews with neighbors, friends, or associates of the
     8                  consumer reported on or with whom he is acquainted or who may have knowledge
                        concerning any such items of information.
     9
         Thus, a credit and background report qualify as an investigative consumer report.
   10
                  35.   Section 1681b(b)(2)(A) requires that a disclosure and investigative consumer
   11
         report consent form stand-alone and that any extraneous information included such as state law
   12
         disclosures and waiver of liability are in violation of the statute. See, Syed v. M-1, LLC, 846 F.3d
   13
         1034 (9th Cir. 2017) and Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d 1169 (9th Cir.
   14
         2019).
   15
                  36.   The disclosure and authorization provided to Plaintiff contains extraneous
   16
         information which clearly includes state law disclosures, release of liability, and disclosures
   17
         related to drug testing and immigration status, in direct violation of Section 1681b(b)(2)(A).
   18
                  37. Section 1681d(a)(1) provides:
   19                 A person may not procure or cause to be prepared an investigative consumer report
         on any consumer unless:
   20
                        (1) it is clearly and accurately disclosed to the consumer that an investigative
   21                       consumer report including information as to his character, genera] reputation,
                            personal characteristics, and mode of living, whichever are applicable, may
   22                       be made, and such disclosure; (Emphasis Added.)

   23                   (2) is made in a writing mailed, or otherwise delivered, to the consumer, not later
                            than three days after the date on which the report was first requested, and
   24
                        (3) includes a statement informing the consumer of his right to request the
   25                       additional disclosures provided for under subsection (b) of this section and the
                            written summary of the rights of the consumer prepared pursuant to section
   26                       1681g(c) of this title; (Emphasis Added.)

   27                   (4) Subsection (b) of Section 168Id(a)(1) provides:

   28                      Any person who procures or causes to be prepared an investigative consumer
                                                       8
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     1                         report on any consumer shall, upon written request made by the consumer
                               within a reasonable period of time after the receipt by him of the disclosure
     2                         required by subsection (a)(1) of this section (a)(1) of this section, make a
                               complete and accurate disclosure of the nature and scope of the investigation
     3                         requested. This disclosure shall be made in a writing mailed, or otherwise
                               delivered, to the consumer not later than five days after the date on which the
     4                         request for such disclosure was received from the consumer or such report was
                               first requested, whichever is the later.
     5

   38§          35.     Defendant did not comply with Section 1681d(a)(1) because Defendant failed to
    7    disclose that its investigative consumer report may include investigation into "personal
    8    characteristics" and "mode of living" and Defendant further failed to provide Plaintiff with a
    9    written summary of rights pursuant to section 1681g(c).
   10           39.     Section 1681 g(c) provides for a summary of rights to obtain and dispute
   11    information in consumer reports and to obtain credit scores as:
   12
         (1)    Commission summary of rights requires:
   13
                (A)    The Commission shall prepare a model summary of the rights of consumers under
   14                  this subchapter.

   15           (B)    Content of summary:

   16    The summary of rights prepared under subparagraph (A) shall include a description of

   17                  (I)               the right of a consumer to obtain a copy of a consumer report under
                                  subsection (a) of this section from each consumer reporting agency;
   18
                       (ii)               the frequency and circumstances under which a consumer is entitled
   19                             to receive a consumer report without charge under subsection 1681j of this
                                  title;
   20
                       (iii)            the right of a consumer to dispute information in the file of the
                                  consumer under subsection 1681i of this title;
   21
                       (iv)               the right of a consumer to obtain a credit score from a consumer
   22
                                  reporting agency, and a description of how to obtain a credit score;
   23
                       (v)                the method by which a consumer can contact, and obtain a
                                  consumer report from, a consumer reporting agency without charge, as
   24
                                  provided in the regulations of the Bureau prescribed under section 211(c)
   25                             of the Fair and Accurate Credit Transactions Act of 2003; and

   26                  (vi)               the method by which a consumer can contact, and obtain a
                                  consumer report from, a consumer reporting agency described in section
   27                             1681a(w) of this title, as provided in the regulations of the Bureau
                                  prescribed under section 168 1j(a)(1)(C) of this title.
   28
                                                            9
                                              CLASS ACTION COMPLAINT
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     1           40.     Defendant did not comply with § 1681g(c) because no such summary of rights was
     2   ever provided to Plaintiff and the putative class.

    3            41.     Based upon facts that are likely to have evidentiary support after a reasonable

     4   opportunity for investigation and discovery, Plaintiff alleges that Defendant has a policy and

    5    practice of failing to provide adequate written disclosures to applicants and employees, before

    6    procuring credit reports or causing credit reports to be procured, as described above. Pursuant to

    7    that policy and practice, Defendant procured credit reports or caused credit reports to be procured

    8    for Plaintiff and class members that is in non-compliance with §§ 1681b(b)(2)(A), 1681d(a)(1)

    9    and 1681g(c), as described above.

   10           42.      Defendant's conduct in violation of §§ 1681b(b)(2)(A), 1681d(a)(1) and 1681g(c)
   11    was and is willful. Defendant acted in deliberate or reckless disregard of their obligations and the

   12    rights of applicants and employees, including Plaintiff and class members. Defendant's willful
   13    conduct is reflected by, among other things, the following facts:

   14                    (a)    Defendant is a large corporation with access to legal advice;

   15                    (b)    Defendant required a purported authorization to perform credit checks in

   16    the process of employing the class members which, although defective, evidences Defendant's

   17    awareness of and willful failure to follow the governing laws concerning such authorizations; and

   18                    (c)    The plain language of the statute unambiguously indicates the failure to

   19    include the provisions identified above violates the FCRA's consumer credit reporting

   20    requirements.

   21           43.      As a result of Defendant's illegal procurement of credit reports by way of their

   22    defective notice and authorization, as set forth above, Plaintiff and class members have been

   23    injured including, but not limited to, having their privacy and statutory rights invaded in violation

   24    of the FCRA.

   25           44.      Plaintiff, on behalf of themselves and all class members, seeks all available

   26    remedies pursuant to 15 U.S.C. § 1681b, including statutory damages and/or actual damages,

   27    punitive damages, injunctive relief, and attorneys' fees and costs to the extent they are provided

   28    for under the FCRA.
                                                          10
                                             CLASS ACTION COMPLAINT
Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.24 Page 14 of 22




     1           45.     In the alternative to Plaintiffs allegation that these violations were willful,
     2   Plaintiff alleges that the violations were negligent and seeks the appropriate remedy, if any, under

    3    15 U.S.C. § 1681b, including but not limited to actual damages and attorneys' fees and costs to

    4    the extent they are provided for under the FCRA.

    5                                      SECOND CAUSE OF ACTION

    6           FAILURE TO MAKE PROPER DISCLOSURES IN VIOLATION OF ICRAA

    7                          (Cal. Civ. Code §§ 1786.16(a), 1786.20, and 1786.22)

    8                       (By Plaintiff and the ICRAA Class Against all Defendants)

    9            46.     Plaintiff hereby incorporates reference to all the allegations contained in this

   10    Complaint as if fully alleged herein.

   11            47.    Defendants are "persons" as defined by Cal. Civ. Code § 1786.2(a).

   12            48.    Plaintiff and ICRAA Class Members are "consumers" within the meaning of §

   13    1786.2(b) of the ICRAA, because they are "individuals."

   14            49.    Section 1786.2(c) of the ICRAA defines "investigative consumer report" as "a

   15    consumer report in which information on a consumer's character, general reputation, personal

   16    characteristics, or mode of living is obtained through any means."

   17           50.     Thus, a background check qualifies as an investigative consumer report under the

   18    ICRAA.

   19           51.     Section 1786.2(d) of the ICRAA defines "investigative consumer reporting

   20    agency" as "any person who, for monetary fees or dues, engages in whole or in part in the

   21    practice of collecting, assembling, evaluating, compiling, reporting, transmitting, transferring, or

   22    communicating information concerning consumers for the purposes of furnishing investigative

   23    consumer reports to third parties, but does not include any governmental agency whose records

   24    are maintained primarily for traffic safety, law enforcement, or licensing purposes, or any

   25    licensed insurance agent, insurance broker, or solicitor, insurer, or life insurance agent."

   26           52.     Section 1786.16(a)(2)(B)(iii)-(vi) of the ICRAA provides in relevant part as

   27                   follows:

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                                                          11
                                             CLASS ACTION COMPLAINT
Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.25 Page 15 of 22




     1                  (2) If, at any time, an investigative consumer report is sought for employment
                        purposes other than suspicion of wrongdoing or misconduct by the subject of the
    2                   investigation, the person seeking the investigative consumer report may procure
                        the report, or cause the report to be made, only if all of the following apply:
    3
                                (B) The person procuring or causing the report to be made provides a clear
    4                           and conspicuous disclosure in writing to the consumer at any time before
                                the report is procured or caused to be made in a document that consists
    5                           solely of the disclosure, that:
                                    •       •       •



    6
                                (iii) The disclosure may include information on the consumer's character,
    7                           general reputation, personal characteristics, and mode of living.

    8
                                (iv) Identifies the name, address, and telephone number of the
    9                           investigative consumer reporting agency conducting the investigation.

   10
                               (v) Notifies the consumer in writing of the nature and scope of the
   11                          investigation requested, including a .summa►y of the provisions of Section
                               1786.22.
   12                           •       •       •




   13                          (vi) Notifies the consumer of the Internet Web site address of the
                               investigative consumer reporting agency identified in clause (iv), or, if
   14                          the agency has no Internet Web site address, the telephone number of the
                               agency, where the consumer may find information about the investigative
   15                          reporting agency's privacy practices, including whether the consumer's
                               personal information will be sent outside the United States or its
   16                          territories and information that complies with subdivision (d) of Section
                               1786.20. (Emphasis added.)
   17
                53.     As described above, Plaintiff alleges that in evaluating them and other class
   18
         members for employment, Defendant procured or caused to be prepared investigative consumer
   19
         reports (e.g. background checks), as defined by Cal. Civ. Code § 1786.2(c).
   20
                54.     When Plaintiff applied for employment with Defendant, Defendant did not provide
   21
         Plaintiff with required Disclosures and Authorizations ("Disclosure" or "Authorization").
   22
                55.     Defendant violated Sections 1786.16(a)(2)(b)(iii)-(vi), 1786.20 and 1786.22 of the
   23
         ICRAA by failing to provide the nature and scope of the investigation, including that the
   24
         investigation may include information on Plaintiff's "personal characteristics" and "mode of
   25
         living", failing to provide a summary of the provisions of Section 1786.22 (right to inspect files),
   26
         and failing to provide Plaintiff with the name, address, telephone number and website of the
   27
         investigative consumer reporting agency conducting the investigation, as well as information
   28
                                                                  12
                                                        CLASS ACTION COMPLAINT
Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.26 Page 16 of 22




     1   pursuant to Section 1786.20. See Cal. Civ. Code § 1786(a)(2)(B)(iii)-(vi).
     2            56.    Based upon facts that are likely to have evidentiary support after a reasonable
     3   opportunity for investigation and discovery, Plaintiff alleges that Defendant has a policy and
     4   practice of failing to provide adequate written disclosures to applicants and employees, before

     5   procuring credit reports or causing credit reports to be procured, as described above. Pursuant to

    6    that policy and practice, Defendant procured credit reports or caused credit reports to be procured

    7    for Plaintiff and class members without first providing a written notice in compliance with §
    8    1786.16(a)(2)(B) of the ICRAA, as described above.
    9             57.    Defendant's conduct in violation of §§ 1786.16(a)(2)(B), 1786.20 and 1786.22 of
   10    the ICRAA was and is willful and/or grossly negligent. Defendant acted in deliberate or reckless
   11    disregard of their obligations and the rights of applicants and employees, including Plaintiff and

   12    class members. Defendant's willful conduct is reflected by, among other things, the following
   13    facts:
   14                    (d)    Defendant is a large corporation with access to legal advice;

   15                    (e)    Defendant required a purported authorization to perform credit checks in

   16    the process of employing the class members which, although defective, evidences Defendant's

   17    awareness of and willful failure to follow the governing laws concerning such authorizations; and
   18                    (f)    The plain language of the statute unambiguously indicates the failure to
   19    include the provisions identified above in violation of the ICRAA's notice requirement.

   20             58.    As a result of Defendant's illegal procurement of credit reports by way of their

   21    inadequate notice and authorization as set forth above, Plaintiff and class members have been

   22    injured including, but not limited to, having their privacy and statutory rights invaded in violation

   23    of the ICRAA.

   24             59.    Plaintiff, on behalf of themselves and all class members, seeks all available

   25    remedies pursuant to Cal. Civ. Code § 1786.50, including statutory damages and/or actual

   26    damages, punitive damages, injunctive relief, and attorneys' fees and costs.
   27             60.    In the alternative to Plaintiff's allegation that these violations were willful,
   28    Plaintiff alleges that the violations were negligent and seeks the appropriate remedy, if any, under
                                                           13
                                             CLASS ACTION COMPLAINT
Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.27 Page 17 of 22




     1   Cal. Civ. Code § 1786.50(a), including but not limited to actual damages and attorneys' fees arid
     2   costs.
     3                                          PRAYER FOR RELIEF

     4            WHEREFORE, Plaintiff, on behalf of themselves and all others similarly situated, prays

     5   for relief and judgment against Defendant as follows:

     6            1.    An order that the action be certified as a class action;

     7            2.    An order that Plaintiff be appointed class counsel;

    8             3.    An order that counsel for Plaintiff be appointed class counsel;

    9             4.    Statutory penalties;

   10             5.    Civil penalties;

   11             6.    Punitive damages;

   12             7.    Injunctive relief;

   13             8.    Costs of suit;
   14             9.    Interest;

   15             10.   Reasonable attorneys' fees; and

   16             11.   Such other relief as the Court deems proper.

   17

   18    Dated: July 12, 2019                          Respectfully submitted,
                                                       CROSNER LEGAL, PC
   19

   20                                                  By:
                                                               Michael Crosner, Esq.
   21                                                          Zach Crosner, Esq.
                                                               David Watson, Esq.
   22                                                          Rex Phillips, Esq.
                                                               Attorneys for Plaintiff
   23                                                          and the Proposed Class
   24

   25

   26

   27

   28
                                                          14
                                               CLASS ACTION COMPLAINT
Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.28 Page 18 of 22




     1                                    DEMAND FOR JURY TRIAL
     2          PLAINTIFF MARIA HERNANDEZ, AZAEL SANCHEZ, and ROBERTO NAVA
    3    demand a trial by jury for themselves and the putative class members on all claims so triable.

    4

    5    Dated: July 12, 2019                         Respectfully submitted,
                                                      CROSNER LEGAL, PC
    6

    7                                                 By:
                                                             Michael Crosner, Esq.
    8                                                        Zach Crosner, Esq.
                                                             David Watson, Esq.
    9                                                        Rex Phillips, Esq.
                                                             Attorneys for Plaintiff
   10                                                        and the Proposed Class
   11

   12

   13

   14

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                                           CLASS ACTION COMPLAINT
      Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.29 Page 19 of 22
                                                                                                                                                                CM-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Noma Maio Bar number and address):                                                    FOR COURT USE ONLY
   Michael R. Crosner (Bar No. 41299), Zachary M. Crosner (Bar No. 272295),
   David Watson (Bar No. 219705), BRENT MARLIS (SBN 284654)
   CROSNER LEGAL, PC                                                                                               ELECTRONICALLY FILED
   433 N. Camden Dr., Ste. 400 Beverly Hills, CA 90210                                                              Superior Court of California,
        TELEPHONE NO.: 310) 496-5818             FAX NO.: (310) 510-6429
                                                                                                                       County of San Diego
  ATTORNEY FOR (Name): maria Hernandez, Azael Sanchez and Robert Nava                                              07/12/2019 at 01:51:17 PM
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
                                                                                                                   Clerk of the Superior Court
      STREET ADDRESS: 330 West Broadway
                                                                                                              By Jacqueline J. Walters, Deputy Clerk
         MAILING ADDRESS:
        CITY AND ZIP CODE:     San Diego, CA 92101
            BRANCH NAME:       Hall ofJustice Courthouse
     CASE NAME:
  MARIA HERNANDEZ v. SOUTHWEST KEY PROGRAMS, INC.
                                                                                         CASE NUMBER:
    CIVIL CASE COVER SHEET                            Complex Case Designation
     Unlimited       n     Limited                                                             37-2019-00036821-C U- 0 E- CTL
     (Amount               (Amount                     Counter              Joinder
                                                                                          JUDGE:
     demanded              demanded is          Filed with first appearance by defendant          Judge Joel R. Vilohlfeil
     exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                              Items '1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                  Provisionally Complex Civil Litigation
           Auto (22)                                             Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
           Uninsured motorist (46)                              Rule 3.740 collections (09)                 Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property             I-
                                                           1 Other collections (09)                         Construction defect (10)
      Damage/Wrongful Death) Tort                               I
                                                              Insurance coverage (18)                       Mass tort (40)
      1- 1 Asbestos (04)                               n      Other contract (37)                           Securities litigation (28)
      n     Product liability (24)                     Real Property                                        Environmental/Toxic tort (30)
      I 7   Medical malpractice (45)                   I— I Eminent domain/Inverse                   1=1 Insurance coverage  claims arising from the
            Other PI/PD/WD (23)                               condemnation (14)                                      provisionally complex case
                                                                                                            above listed
                                                             Wrongful eviction (33)                         types (41)
      Non-PI/PD/WD (Other) Tort
           Business tort/unfair business practice (07)        Other real property (26)               Enforcement of Judgment
      I- '1Civil rights (08)                           Unlawful Detainer                                    Enforcement of judgment (20)
           Defamation (13)                                   Commercial (31)                         Miscellaneous Civil Complaint
           Fraud (16)                                      I I
                                                             Residential  (32)                              RICO (27)
      LI   Intellectual property (19)                        Drugs  (38)                             171 Other complaint (not specified above) (42)
      LI   Professional negligence (25)                Judicial Review                               Miscellaneous Civil Petition
           Other non-PUPDNVD tort (35)                       Asset forfeiture (05)
                                                                                                          Partnership and corporate governance (21)
      Employment                                             Petition re: arbitration award (11)
                                                                                                          Other petition (not specified above) (43)
           Wrongful termination (36)                         Writ of mandate (02)
       ✓   Other employment (15)                             Other judicial review (39)
2. This case      W is        I I is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      a.       Large number of separately represented parties     d. El Large number of witnesses
      b. [11 Extensive motion practice raising difficult or novel e. 1=I Coordination with related actions pending in one or more courts
               issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
      c.       Substantial amount of documentary evidence         f.     Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply): a. ✓ monetary b. r_ nonmonetary; declaratory or injunctive relief c. punitive
4.    Number of causes of action (specify): 2 Causes of Actions 1VIOLATION OF ICRAA, 1 VIOLATION OF FCRA
5.    This case I is F7 is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: 7/12/2019
Zachary M. Crosner
                                    (TYPE OR PRINT NAME)                                            (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                      NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                               Pave 1 of 2
Form Adopted far Mandatory Use                                                                                  Cal. Rules of Court, rules 2.30, 3.220, 1400-3.403, 3.740;
  JuulUel Cuuta,11 of Cattail tau
                                                           CIVIL CASE COVER SHEET                                       Cal. Standards of Judicial Administration, std. 3.1U
  CM-010 [Rev. July 1, 2007)                                                                                                                          www.courfinlb ca.gov
     Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.30 Page 20 of 22

                                                                                                                                      CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3,400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach-Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
         instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
         Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
         Asbestos Personal Injury/                       Other Promissory Note/Collections                        County)
                Wrongful Death                               Case                                           Confession of Judgment (non-
    Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                     complex) (18)                                       Sister State Judgment
    Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
         Medical Malpractice-                           Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
         Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                             Other Contract Dispute                              Other Enforcement of Judgment
                                                                                                                  Case
    Other PI/PD/WD (23)                         Real Property
         Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                               Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                            above) (42)
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
         Intentional Infliction of                      Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                                                                          Injunctive Relief Only (non-
                                                        Mortgage Foreclosure                                      harassment)
         Negligent Infliction of                        Quiet Title
                Emotional Distress                      Other Real Property (not eminent                    Mechanics Lien
         Other PI/PDAND                                                                                     Other Commercial Complaint
                                                        domain, landlordItenant or
                                                        foreclosure)                                              Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                                                                   Other Civil Complaint
    Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
       Practice (07)                               Commercial (31)
                                                                                                    Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
        false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
         harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                 Judicial Review                                             Civil Harassment
    Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
    Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
        Legal Malpractice                               Writ-Administrative Mandamus                        Election Contest
        Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
             (not medical or legal)                         Case Matter                                     Petition for Relief From Late
     Other Non-PI/PDNVD Tort (35)                       Writ-Other Limited Court Case                             Claim
Employment                                                 Review                                           Other Civil Petition
    Wrongful Termination (36)                      Other Judicial Review (39)
    Other Employment (15)                               Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                           Commissioner Appeals
CM-010 [Rev. July 1, 20071                                                                                                             Page 2 of 2
                                                    CIVIL CASE COVER SHEET
   Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.31 Page 21 of 22


    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                        FOR COURT USE ONLY

   STREET ADDRESS:            330 West Broadway
   MAILING ADDRESS:           330 West Broadway
   CITY, STATE, & ZIP CODE:   San Diego, CA 92101-3827
  BRANCH NAME:                Central

   PLAINTIFF(S):           MARIA HERNANDEZ et.al.

   DEFENDANT(S): SOUTHWEST KEY PROGRAMS INC etal.

   SHORT TITLE:            MARIA HERNANDEZ VS SOUTHWEST KEY PROGRAMS INC [E-FILE]

                              STIPULATION TO USE ALTERNATIVE                                                  CASE NUMBER:
                                  DISPUTE RESOLUTION (ADR)                                                    37-2019-00036821-C U-OE-CTL

   Judge: Joel R. Wohlfeil                                                                         Department: C-73

   The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
   alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.
      ❑      Mediation (court-connected)                                ❑   Non-binding private arbitration

      •      Mediation (private)                                        ❑   Binding private arbitration

      ❑      Voluntary settlement conference (private)                  ❑   Non-binding judicial arbitration (discovery until 15 days before trial)

      ❑      Neutral evaluation (private)                               ❑   Non-binding judicial arbitration (discovery until 30 days before trial)

             Other (specify e.g., private mini-Mal, private judge, etc.):



   It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




   Alternate neutral (for court Civil Mediation Program and arbitration only):


  Date:                                                                                    Date:



  Name of Plaintiff                                                                        Name of Defendant



  Signature                                                                                Signature



  Name of Plaintiffs Attorney                                                              Name of Defendant's Attorney



  Signature                                                                                Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 07/18/2019                                                                                        JUDGE OF THE SUPERIOR COURT
SDSC CIV-359 (Rev 12-10)                                                                                                                                   Page: 1
                                        STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
   Case 3:19-cv-01636-AJB-AHG Document 1-2 Filed 08/29/19 PageID.32 Page 22 of 22


 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      330 W Broadway
 MAILING ADDRESS:     330 W Broadway
 CITY AND ZIP CODE:   San Diego, CA 92101-3827
 BRANCH NAME:         Cordial
 TELEPHONE NUMBER: (619) 450-7073

 PLAINTIFF(S) / PETITIONER(S):              MARIA HERNANDEZ et.al.
 DEFENDANT(S) I RESPONDENT(S): SOUTHWEST KEY PROGRAMS INC et.al.

  MARIA HERNANDEZ VS SOUTHWEST KEY PROGRAMS INC [E-FILE]
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT                                               CASE NUMBER:
 CONFERENCE on MANDATORY eFILE CASE                                                          37-2019-00036821-CU-0E-CTL

CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Joel R. Wohlfeil                                                               Department: C-73

COMPLAINT/PETITION FILED: 07/12/2019

TYPE OF HEARING SCHEDULED                            DATE            TIME           DEPT               JUDGE
Civil Case Management Conference                     12/27/2019      01:30 pm       C-73               Joel R. Wohlfeil


A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days prior to the initial case management conference. (San Diego Local Rules, Division II, CRC Rule 3.725).
All counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR* options.




IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLA1NT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.
ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.
TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, and family law proceedings.
COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.
DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in
       the action.
MANDATORY eFILE: Case assigned to mandatory eFlle program per CRC 3.400-3,403 and SDSC Rule 2.4.11. All documents must
      be eFiled at www.onelegal.com, Refer to General Order In re procedures regarding electronically imaged court records,
      electronic filing, and access to electronic court records in civil and probate cases or guidelines and procedures.
COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www,sdcourt.ca.gov.
*ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).



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                                                      NOTICE OF CASE ASSIGNMENT
